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                    Exhibit A
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                                                             Comfy Animal Friends

                     HOME             COLLECTIONS            THE BUZZ            ABOUT US             CONTACT     BRAND STORY




Animal-Shaped Pillowcases
                                            At home or on the go, Milo & Gabby's cuddly-soft,
                                            Animal-shaped Pillowcases combine the comfort of a
                                            favorite pillow and a stuffed animal.




                                                                                                                Lola the Bunny
     Dylan the Dinosaur




                                                                                                                Meg the Lamb
     Harold the Dog




     Albert the Alligator                                                                                       Coco the Cat




                                            Made from 300 thread count 100% cotton sateen
                                            sheeting with virgin poly fill in the feet, ears, tails and
                                            fins. Machine washable and durably constructed for
     Zeke the Fish                          children ages 2 and up.                                             Brandy the Pony




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in America
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